Case 1:13-cv-03309-REB-KMT Document 65-1 Filed 06/03/14

 

COUNTY COURT, PARK COUNTY, COLORADO DATE. FILED: May 25

Park County Courthouse
300 4th St., P.O. Box 190

 

 

Fairplay, CO 80440

Plaintiff: FEDERAL NATIONAL MORTGAGE

ASSOCIATION

Vv.

Defendants; MARTIN T. WIRTH, and any and all

other occupants claiming an interest under the defendants ACOURT USE ONLYA
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Atty. Reg#s: 31284; 40858

Case No.: 2014C30068

Div.: A

 

 

 

JUDGMENT FOR POSSESSION

 

 

THIS MATTER has come before the Court upon plaintiff's complaint in unlawful
detainer, defendant’s answer and counterclaims, and a trial to the Court held on May 29, 2014.

The Court, having considered the evidence and arguments of the parties, entered findings
of fact and conclusions of law on the record at the conclusion of the trial. The Court hereby
grants judgment for possession to plaintiff, and further FINDS and ORDERS as follows:

- Defendant Martin T. Wirth (“Mr. Wirth”) obtained a mortgage loan and in
connection with that loan executed a deed of trust (the “Deed of Trust”) containing a power of
sale. The Deed of Trust encumbered the Mr. Wirth’s property located at: 36 Iris Drive, Bailey,
Colorado 80421 (the “Property”).

Ze A default occurred under the Deed of Trust and Federal National Mortgage
Assciation’s (“Fannie Mae”) servicer, Nationstar Mortgage LLC (“Nationstar”’) foreclosed upon
the Deed of Trust. The Property was duly sold to Nationstar at the foreclosure sale.

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3 Fannie Mae demanded possession of the Property pursuant to C.R.S. § 13-40-
104(1)(f).
4. Defendants were duly served with the demand for possession but did not vacate

the Property.
Di Defendants were duly served with a summons and complaint.

6. Fannie Mae is the lawful owner of the Property as a consequence of the
completed foreclosure and expiration of the applicable redemption periods. Nationstar received
a public trustee’s Confirmation Deed, and thereafter executed a special warranty deed
transferring the Property from Nationstar to Fannie Mae. E

 

ae Mr. Wirth is guilty of unlawful detention of the Property now owned by Fannie
Mae pursuant to C.R.S. § 13-40-104(1)(6.

8. Venue has been considered and is proper pursuant to Rule 98(a), C.R.C.P.
because this matter involves a claim for possession of the real Property that is located in Park
County, state of Colorado.

9. Based upon the above, the Court, being otherwise sufficiently advised, hereby
enters judgment pursuant to C.R.S. § 13-40-115(1) in favor of plaintiff and against all
defendants, for possession of the Property.

10. Upon plaintiffs request, the clerk of the Court shall issue a writ of restitution
upon this judgment, pursuarit to C.R.S. §13-40-122, at any time after ® \098__ o’clock,

 

GQ .m., on Sawer. D2. S544 , being more than 48 hours after the entry
of this judgment.
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DATED this Meay of [i \. 4 , 2014, at} ©} © o'clock, & .m.
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CP

District Court Judge

 

 

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